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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :
                                             :       Criminal No. 21-552 DLF
KENNETH THOMAS,                              :
                                             :
       Defendant.                            :

                UNITED STATES’ MOTION IN LIMINE REGARDING
             CROSS-EXAMINATION OF U.S. SECRET SERVICE WITNESS

       The United States of America moves to limit the cross-examination of witnesses with the

Secret Service Agency, pursuant to Fed. R. Evid. 401, 403, and 611(b). Defendant Kenneth Joseph

Thomas does not oppose this motion.

                                       INTRODUCTION

       In Counts Eight, Nine, and Ten of the Second Superseding Indictment (“SSI”), defendant

Thomas is charged with violating 18 U.S.C. § 1752(a)(1), (2), and (4) by knowingly entering or

remaining in a restricted building or grounds without lawful authority, by knowingly, and with

intent to impede or disrupt the orderly conduct of Government business and official functions,

engaging in disorderly or disruptive conduct in, or within proximity of, any restricted building or

grounds when such conduct does in fact impede or disrupt Government business and official

functions, and by knowingly engaging in any act of physical violence against any person and

property in a restricted building and grounds, during the breach of the United States Capitol on

January 6, 2021. That statute defines “restricted buildings or grounds” to include any building or

grounds temporarily visited by a person being protected by the Secret Service. 18 U.S.C.

§ 1752(c)(1)(B).
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       To meet its burden of proof at trial, the government intends to call a witness from the

United States Secret Service to testify that at the time of the Capitol breach, Secret Service agents

were on duty to protect then-Vice President Mike Pence and his two immediate family members,

all of whom were present at the Capitol.

       However, the very nature of the Secret Service’s role in protecting the Vice President and

his family implicates sensitive information related to that agency’s ability to protect high-ranking

members of the Executive branch and, by extension, national security. Thus, the government seeks

an order limiting the cross-examination of the Secret Service witnesses to questioning about the

function performed by the Secret Service as testified to on direct exam, in this case protecting the

Vice President and his family. Defendant Thomas should be specifically foreclosed from

questioning the witnesses about the following:

       1. Secret Service protocols related to the locations where protectees or their motorcades

            are taken at the Capitol or other government buildings when emergencies occur;

       2. Details about the nature of Secret Service protective details, such as the number and

            type of agents the Secret Service assigns to protectees.

                                           ARGUMENT

       I.      This Court Has the Discretion to Limit Cross-Examination of Witnesses at
               Trial.

       It is well-established that a district court has the discretion to limit cross examination. See

Alford v. United States, 282 U.S. 687 (1931) (“The extent of cross-examination [of a witness] with

respect to an appropriate subject of inquiry is within the sound discretion of the trial court.”). A

court has the discretion to prohibit cross-examination that goes beyond matters testified to on direct

examination. Fed. R. Evid. 611(b). This is particularly so when the information at issue is of a

sensitive nature. See e.g., United States v. Balistreri, 779 F.2d 1191, 1216-17 (7th Cir. 1985)



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(upholding district court’s decision to prohibit cross-examination of agent about sensitive

information about which that agent did not testify on direct examination and which did not pertain

to the charges in the case), overruled on other grounds by Fowler v. Butts, 829 F.3d 788 (7th Cir.

2016). Other permissible reasons for limiting cross-examination include preventing harassment,

prejudice, confusion of the issues, or repetitive, cumulative, or marginally relevant questioning.

Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986).

       The Confrontation Clause only guarantees “an opportunity for effective cross-examination,

not cross-examination that is effective in whatever way, and to whatever extent, the defense might

wish.” Delaware v. Fensterer, 474 U.S. 15, 20 (1985). Even evidence that may be relevant to an

affirmative defense should be excluded until the defendant sufficiently establishes that defense

through affirmative evidence presented during his own case-in-chief. See United States v. Lin, 101

F.3d 760, 768 (D.C. Cir. 1996) (acknowledging trial court has discretion to limit cross-examination

on prejudicial matters without reasonable grounding in fact); United States v. Sampol, 636 F.2d

621, 663-64 (D.C. Cir. 1980) (holding that trial court properly limited cross-examination of alleged

CIA murder scheme until defense put forth sufficient evidence of the affirmative defense in its

case-in-chief); United States v. Stamp, 458 F.2d 759, 773 (D.C. Cir. 1971) (finding trial court

properly excluded cross examination of government’s witness with response to matter only related

to an affirmative defense and not elicited through direct exam). Preventing the defendnat from

exploring the topics identified above will not infringe his Confrontation Clause right because those

topics are not relevant to an element at issue in the case, provide no basis for impeaching the Secret

Service witness, and do not implicate any affirmative defense.




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       II.      Cross-Examination of Secret Service Witnesses Should Be Limited to Whether
                the Capitol was Restricted on January 6, 2021.

       To prove Counts Eight, Nine, and Ten of the SSI, the government intends to offer limited

testimony about the Secret Service’s protection of certain officials on January 6, 2021. To establish

these violations, the government must prove that the Capitol and its grounds were “restricted,” for

purposes of § 1752(a) because the Vice President and his family were present there and being

protected by the Secret Service. 1 See 18 U.S.C. § 1752(c)(1)(B) (defining restricted buildings and

grounds).

       Cross-examination of Secret Service witnesses about extraneous matters beyond the scope

of direct examination should be excluded as irrelevant or unduly prejudicial. But the Secret

Service’s general protocols about relocation for safety should be excluded as irrelevant because

such evidence does not tend to make a fact of consequence more or less probable. Fed. R. Evid.

401 (defining relevant evidence). Similarly, evidence of the nature of Secret Service protective

details is not relevant in this case. The number or type of assigned agents on a protective detail

does not alter the probability that the Capitol and its grounds were restricted at the time. None of

the other elements to be proven, or available defenses, implicates further testimony from the Secret

Service.

       Even assuming the evidence to be excluded is marginally relevant, such relevance is

substantially outweighed by the danger of confusion of the issues, mini-trials, undue delay, and

waste of time. See United States v. Mohammed, 410 F. Supp. 2d 913, 918 (S.D. Cal. 2005) (finding

that information having broader national security concerns can be excluded under Rule 403

because its tendency to confuse the issues, mislead the jury, create side issues or a mini-trial can



1
 The Secret Service is authorized to protect the Vice President and his or her immediate family.
18 U.S.C. §§ 3056(1) and (2).

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result in undue prejudice that substantially outweighs any probative value). Broader cross-

examination of Secret Service witnesses could compromise national security without adding any

appreciable benefit to the determination of the truth, or the veracity or bias of witnesses. Id.

   III.      The Government Requests an In Camera Proceeding to Determine the
             Admissibility of Certain Evidence.

          If this court determines that a hearing is necessary to determine the admissibility of

testimony by a witness from the Secret Service, the government requests the hearing be conducted

in camera and ex parte. As noted, in this case, disclosure of certain information could prove

detrimental to the Secret Service’s ability to protect high-level government officials and affect our

national security. Courts have found such considerations justify ex parte, in camera proceedings.

See Gilmore v. Palestinian Interim Self-Gov’t Auth., 843 F.3d 958, 968 (D.C. Cir. 2016) (finding

that while ex parte proceedings should be employed to resolve discovery disputes only in

extraordinary circumstances, they are appropriate where disclosure could lead to substantial

adverse consequences, such as where a party sought intelligence materials generated in the midst

of a geopolitical conflict); United States v. Nixon, 418 U.S. 683, 714 (1974) (affirming district

court’s order for in camera inspection of subpoenaed presidential materials); United States v.

Kampiles, 609 F.2d 1233, 1248 (7th Cir. 1979) (“It is settled that in camera ex parte proceedings

to evaluate bona fide Government claims regarding national security information are proper.”); In

re Taylor, 567 F.2d 1183, 1188 (2d Cir. 1977) (finding that in camera proceedings “serve to

resolve, without disclosure, the conflict between the threatened deprivation of a party’s

constitutional rights and the Government’s claim of privilege based on the needs of public

security.”); United States v. Brown, 539 F.2d 467, 470 (5th Cir. 1976) (same).




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                                        CONCLUSION

       For these reasons, the United States requests that this court enter an order, as described

above, limiting cross-examination of any witness with the Secret Service. If this court determines

an evidentiary hearing is necessary to rule on this motion, the government asks that the hearing be

held in camera and ex parte.

                                             Respectfully submitted,

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